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Halifax County Circuit Court               Case No.:CL19000426-00
HALIFAX COUNTY, VIRGINIA           Vs      PURDUE PHARMA LP



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                                                                        OFFICIAL RECEIPT
                                                                  HALIFAX COUNTY CIRCUIT COURT
                                                                              CIVIL



              DATE : 04/30/2019                   TIME : 09:34:24                                CASE # : 083CL1900042600




                                                                  PY
          RECEIPT # : 19000003864        TRANSACTION # : 19043000005
         CASHIER : ENP            REGISTER # : A249                                         FILING TYPE : GTOR                PAYMENT : FULL PAYMENT
 CASE COMMENTS : HALIFAX COUNTY, VIRGINIA v. PURDUE PHARMA LP
    SUIT AMOUNT : $50,350,000.00
      ACCOUNT OF : HALIFAX COUNTY, VIRGINIA
          PAID BY : HALIFAX COUNTY, VIRGINIA
            CASH : $0.00
    DESCRIPTION 1 : GTOR:GENERAL TORT LIABILITY
                        2 : PLAINTIFF: HALIFAX COUNTY, VIRGINIA



                                      O
                        3 : NO HEARING SCHEDULED

                                              ACCOUNT
                                               CODE
                                                049   WRIT TAX (CIVIL)
                                                                       DESCRIPTION                      PAID

                                                                                                               $0.00
                                     C
                                                                                                                            TENDERED : $         0.00
                                                                                                                        AMOUNT PAID : $          0.00




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